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          As to the population of the Libby area, Peipins etal (2003), p.1758,

 speaks of a population of "9521 persons in Central Lincoln County, a

 population that has been relatively stable for the past 30 years (U.S. Bureau

 of the Census 2002)." Peipins et al (2003) discusses the dem09raphics of

 study participants and discusses the results of screenings administered by

 the ATSDR in 2000'and 2001. Chest x-rays were taken on 6,668 participants,

 representing 61% ofthe area population, of whom 18% (1,186 of 6,668) had

 pleural abnormalities. This is a very large number for a small community. '

         Peipins et al (2003), Table 3, notes the exposure pathways for the

 1,186 with pleural and/or interstitial abnormalities:

         Ever worked for W.R. Grace                                   186

         Lived with W.R. Grace workers                                358

         Environmental only exposures
               derived as 1186-358-186=                               642

         Resident (more than 6 months before 1991)                  1,186.

Note that all participants are "residents." Peipins et al (2003), p.1755, states

'1he pathways presented here are not mutually exclusive." Many community

exposure pathways are listed. Most study participants with abnormalities

are not workers or family members of workers, but are simply residents of

the Libby area.

        The pattern seen in exposure histories for patients of the CARD Clinic

is consistent with the findings in Peipins et al (2003). Most patients are

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 community members who are not workerS or family members of workers.

 Indeed the percentage of new patients who are community members has

 increased in recent years. An important aspect of Libby area exposures is

 that residents had a 24 hour exposure, with no respite away from exposure

 to clear out the airways. This appears to be generally different from

 exposures reported elseiNhere.

        .The CARD Clinic has diagnosed over 1,800 patients with asbestos

 related disease by either plain chest x-ray or CT scan, and has.confirmed

 diagnoses on about 100 patients in other areas of the U.S. All had

exposures to Libby asbestos due to W.R. Grace or Zonolite Company

operations in or near Libby, Montana. Very few patients had exposures to

other asbestos outside the Libby area. Few patients had non-vermiculite

related asbestos exposures within the Libby area. All patients in the over

1,800 diagnosed above have asbestos disease due to exposure to Libby

asbestos with its source in W.R. Grace and Zonolite Co. mining and other

activities.

        36.      The following numbers are supplied by the McGarvey,

Heberling, Sullivan & McGarvey law firm. Of 653 Libby Claimants who are

patients of CARD:

        Ever worked for W.R. Grac.e                          189            29%
        Subcontractors at W.R. Grace                           26            4%
        Family household member of W. R.                     143            22%
          Grace worker

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         Community members (all others)                       295          45%
                             Total                            653          100%

 See printout, Exh. 4 "Client Sort by Exposure (Community, Family Member,

 Worker)" (CARD patients only) 5/28/08. While these numbers are

 representative only of Libby Claimants, they are consistent with the findings

 in Peipins et al (2003), in that the greatest number are community members,

 who typically played baseball near Grace operations, played as children on

 piles of Grace vermiculite, or·as residents breathed in asbestos in the dust in

 the air in the Libby area.

         37.     In addition to the vermiculite contamination widespread in the

 Libbyarea, a contributing factor in the widespread pleural disease is the

minimal exposures which triggered disease. There are many examples in a

patient cohort of surprisingly minimal exposures which led to significant

disease:

        Tom Murray, a former federal magistrate judge, worked at the
        mine during the··summers of 1948 and 1949, and died of·--
      . asbestos lung cancer.

        Betty Maxwell who only visited Libby for 1-2 week periods for
        about ten summers, and cleaned cabins, now has severe
        asbestos disease and is on oxygen.

        Victoria Skidmore who only visited Libby for errands averaging
        about two trips per month for 14 years, now has pleural
        mesothelioma.

        38.     A hallmark of pleural disease from Libby asbestos exposure is

that it is highly progressive. In Whitehouse (2004) (Exh. 2), 123 patients with

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 two or more sets of pulmonary function tests were studied. All had pleural

 disease, and 55% had no evidence of interstitial changes. There was an

 average of 35 months between first and last lung function test. 76% of the

 patients showed progressive loss of pulmonary function. The extent and

 rapidity of loss of pulmonary function were highly significant. Page 221

 states that for the 123 patients "the average yearly loss was 2.2% for FVC,

 2.3% for TLC, and 3.0% for OLCO:' To my knowledge, no study of asbestos

 disease from predominately chrysotile exposure shows overall progression

 rates for lung function loss anything like those seen in Libby, where most

 patients have had relatively light exposures.

         As. of 3/11/09, 36 of the 123 patients in the study had died. For 30 of

36, asbestos related· disease was a significant factor in death. Life

expectancy at date of diagnosis was calculated for each of the 30. The

average loss was 9.3 years of life expectancy for the 30 patients. See Exh. 5.

"Dead in 123 patients-in Whitehouse (2004)."

        39.     Interestingly, Alfonso (2005), an amphibole study from Australia,

similarly finds an "average rate of decline of OLCO ... [of] about 2.2% per

year [0.55/24.8] in people with asbestosis." Asbestosis was considered

present upon an ILO score of 1/0 or greater. OLCO decline was not

investigated for pleural disease in the study cohort. In another amphibole

study, Cookson (1983), abstract, states "[t]he ratio of transfer factor to


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   effective alveolar volume correlated directly with the degree of pleural

   thickening as alveolar volume fell with increasing severity of pleural

   disease."        Sichleditis (2007) is a study of environmental exposure to

   tremolite asbestos in Almopia, Greece. It finds significant progressive lung

  function loss in patients with pleural disease. Villagers whitewashed

  buildings using mineral dust, which contained tremolite asbestos. A

  doubling of the size of pleural plaques was found in 126 subjects followed

  for 15 years. 18 of the 126 had pulmonary function tests in 1988 and 2003.

  Percent predicted for· total lung capacity dropped from 96% to 76% (1.3%

  per year), forced vital capacity dropped from 95% to 80% (1.0% per year),

  and residual volume dropped from 98% to 66% (2.1 % per year).

          The 18 subjects with pulmonary function tests had comparatively mild

  radiographic progression, with only a 60% increase in area of pleural

  plaques (p.636) (data at Table 2, p.640). The authors report that "no obvious

  radiological abnormalities were detected in lung parenchyma," p·.636:··

          40.     Rapid progression in the Libby cohort can also be seen

  radiographically. Exhibit 6 is a Chart titled "Chart Case # Type of

  Progression: which presents a collection of 18 cases of rapid progression in

 seven years or less, secondary to pleural disease and/or interstitial disease.

 CDs are attached at Exh. 6 showing photos of pleural plaques and the

 progression of plaques to interstitial disease. To my knowledge,


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 progression of pleural disease of this nature has not been reported

 elsewhere.

         41.      Pleural disease from exposure to Libby asbestos appears to be

 far more severe than asbestos pleural disease reported eisewhere. The

 CARD mortaiity study presents 24 deaths by pleural disease with no

 interstitial disease on last chest x-ray. Exh.7. ATS (2004) p.707, reports

 only five total cases of death by pleural disease outside Libby. I have read

 reports of others, but they remain very few. In Miles et al (2008), p. 2, the

 Austraiian authors report that death secondary to diffuse pleural thickening

 is "very rare." Commonly the mechanism for death by pleural disease is

 loss of pleural space resulting in episodes of hypoxia. Due to the highly

progressive nature of Libby asbestos disease, once diagnosed with pleural

disease, with multiple pleural plaques or diffuse pleural thickening and a loss

of lung function, a patient has a high probability of progressive disease and

early mortality due to asbestos disease.

        42.      The CARD mortaiitystudy observed that 59% (110/186) of

deceased patients ·of CARD died of asbestos disease, meaning that asbestos

related disease was at least a significant contributing factor in the death.

See Exh. 7, Summary of Mortality Study Disease Percentages. Cause of

death per death certificate was noted, and also a determination was made

by best available information review of medical records, per Seiikoff (1992).

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 In contrast, a patient diagnosed with asbestos disease from predominately

 chrysotile exposure has a much lower likelihood of death.

         43.      In the CARD pleural disease cohort, there is a large number of

 patients with severe pulmonary function impairment. To my knowledge, no

 similar incidence of impairment is reported in an asbestos pleural disease

 cohort elsewhere, or in a chrysotile disease cohort elsewhere. Note that

 some Libby patients have severe impairment mainly due to smoking. A

.proper cohort comparison would include cohorts with asbestos pleural

 disease or chrysotile disease including all smokers.

         Per the records of the McGarvey, Heberling, Sullivan & McGarvey Law

Firm, of 653 Libby clients with asbestos disease from exposure to Libby

asbestos who are also patients of CARD, 77 are on oxygen, and 171 have at

least oned the three main indicators of severity. of asbestos disease under

60% of normal (FVC, TLC or DLCO). Exhibit 8. While these numbers are

representative of the listed patients only, based on clinical observation, it is

likely that they are indicative of severity of asbestos disease in the CARD

patient cohort. (Miller norms are generally used for DLCO. If translated to

Crapo, a decrease of roughly 10% of predicted occurs.)

        A number of studies report an increased incidence of extensive

fibrosis and pleural effusions associated with exposure to Libby asbestos, as

compared to what is seen in other populations.. See Lockey (1984),

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 McDonald (1986), Amandus (1987) and Libby Studies listed.

         44.     Attached is a chart titled "Mesothelioma Cases with Exposure to

 Libby Asbestos as a significant factor." 17/23/08). Exhibit 9 (and CD with

 data). 31 cases of mesothelioma are verified, where exposure to Libby

 asbestos was a significant factor in producing the mesothelioma. Three

 others await verification. Verification is per death certificate or pathology

 report, or both. This is an extremely high incidence of mesothelioma in a

 community with an average population of 9,521. Peipins et al (2003);

 ATSDR (2002). The background mesothelioma rate is thought to be about

 one per million per year. Roggli (2007). There have been 20 mesotheliomas

with exposure to Libby asbestos as a significant contributing factor in the

past 12years (1996-2007), or 1.7 per year. If one uses the 20

mesotheliomas, then the Libby area, with a population of about 10,000 is at

166 per million per year, or 166x the background rate. If one uses the 10

mesotheliomas with the Libby area as residence at death, the rate is 83 per

million per year, or 83x the background rate. Libby's mesothelioma rate is

certainly the highest in the United States. The Fraser and Pare text, p.886,

states the mesothelioma rate to be "33 per million per year for South Africa

and to be 66 per million per year for Western Australia." Libby's

mesothelioma rate is among the highest in the world. It is also noted that

the crocidolite mine at Wittenoom, Australia closed in 1966, whereas the

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  Libby mine closed in 1990. The full m.anifestation of mesothelioma in Libby

 is far from completion.

         45.      Libby has also had 13 environmental exposure mesothelioma

 cases (1995-2007) where the exposure to Libby asbestos is considered to be

 a significant factor in producing the mesothelioma. Exh. 9. 11 cases were

 described in Whitehouse et al (2008). Two more have been verified since .

 the date of submission of the article. "Environmentai" excludes miners, but

 includes immediate family members of miners. Two mesothelioma cases

 are household family members of workers at the mine (Orem and Flatt). If

 one uses 11 environmental cases 1995 -2007, this could translate to 0.85 per

year (11 cases in 13 years), or 85 Libby environmental mesothelioma cases

 per million per year: However, one is alive and only five of the 11 died as

.Libby residents. Many Libby patients in end stage disease move to areas

with major medical centers. If we use only the five who died as Libby area

residents, then the rate is 38 per year, or 38 per million per year. Libby's

environmental mesothelioma rate is the highest in the United States, and is

among the highest in the wOrld.

        Berry (1996), "Mesothelioma Incidence and Community Asbestos

Exposure," presents mesothelioma statistics for workers and community

residents near the Johns-Manville Plant in the City of Manville, Somerset

County, New Jersey. The Manville plant operated 1912-1980. The Libby


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  mine and mill operated from the 1930s to 1993. Even though the" Libby mine

 operated for fewer years and closed 13 years later, such that the fulminate

 presentation of mesothelioma cases is yet to occur, the Libby community

 mesothelioma rate appears to be higher than that of Somerset County, New

 Jersey.

         The Manville plant "employed up to 3,500 people," p.34. The Libby

 mine and mill employed at most about 160 people, a difference of about

 22x. The town of Libby has had a population of about 3,000. The town of

 Manville, situated adjacent to the plant, had an average population of

 10,923, p.36. Central Lincoln County (defined as a 10 mile radius from the

 center of Libby) had 9,541 persons, Peipins (2003). Somerset County, New

 Jersey, had an average population (1980 and 1990) of 208,435. This is about

 22x the size of Central Lincoln County. So, whereas the Manville workforce

 was about 22xof that of Libby, the community size from which

 mesothelioma cases is drawn is also about 22x that of Libby.

         Berry (1996), shows total mesothelioma cases for 1979-1990 for

"Somerset County at 143. 61 plant employee cases are subtracted out, for a

 net community case number of 82. Using 82 community mesothelioma

cases in 208,435 residents over 11 years results in 36 per million per year.

Using 11 Libby community mesothelioma cases in 9,541 residents over 11

years (1995-2006), results in a rate of 105 per million per year.


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          Berry (1996), p.36, used "address at time of diagnosis" to determine

 eligibility. If we apply this to the Libby community mesothelioma cases,

 then we find five with Central Lincoln County residence at the time of

 diagnosis. Using these five cases results in a mesothelioma rate of 48 per

 million per year (5/11 x 105), exceeding Somerset County, New Jersey at 36

 per million per year.

         Berry (1996), p.38, states that particulate from the Manville plant

 "regularly coated cars, homes and yards like a fresh s·nowfall in the

 immediate community." The Libby mine and mill were seven miles

 northeast of Libby, with a prevailing wind from the west and southwest. The

entire production ofthe mine was shipped out ofthe Libby railroad yard in

town, and W.R. Grace had a small expansion plant and bagging plant near

the railroad tracks. Libby residents report substantial dust in the town, but it

appears that the Manville asbestos dust concentrations in town were

significantly greater. However, the Libby asbestos is-amphibole asbestos,

whereas Manville used approximately 95% chrysotile asbestos, p.38.

Amphibole asbestos is more toxic, which likely accounts for the greater rate

of mesothelioma cases in the Libby community, even though exposures

were not as heavy.

        Berry (1996), notes that due to insufficient exposure histories, there

could be no sorting of community (non-worker) cases into household


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 member of worker cases and pure environmental cases. This sort can be

 accomplished with the Libby communitY mesothelioma cases..

         46.      Sullivan (2007), Table 1, conservatively finds as of 2001,154

 deaths among Libby mineworkers from asbestos related disease (99 lung

 cancers, 15 mesotheliomas and 40 asbestosis). Sullivan (2007). Table 2, also

 finds 111 miner deaths by non-malignant respiratory disease (NMRD). This

 is a larger catchall category, and includes the 40 asbestosis deaths. In all

 likelihood; if the Selikbff (1991) best available information analysis were

 applied, many of the other 71 NMRD deaths in Libby miners could be

 identified as due to asbestos related disease. The Sullivan (2007) count of

 154 miner deaths due to asbestos disease is very conservative.

         47.     The CARD mortality study adds another 31 miners (including

subcontractors) who have died from asbestos related disease since 2001.

Exh.7 (as of 7/9/08). In addition to the subjects in the mortality study, 23

more workers' (including two subcontractors) death· certificates and records

have been reviewed by me (Exh. 10as of 3/12/09). These 23 ARD deaths

were persons not seen at CARD or by me in Spokane. The total for workers

is 208 (154 + 31 + 23).

        The CARD mortality study shows 73 family members or community

residents died of ARD. Exh.7. In addition to the subjects in the mortality

study, 14 more family and community members' death certificates and


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 records have been reviewed. Exh. 10. These 14 ARD deaths were persons

 not seen at CARD or by me in Spokane. The total for family and community

 members is 87 (73 + 14). The above conservatively totals 295 (208 + 87)

 deaths in the Libby cohort due to asbestos-related disease, as of 7/9/08.

         Studies on deaths in the Libby cohort are summarized on the attached

 chart "Libby Cohort Deaths per Source:' Exh. 21. It also appears that W.R.

 Grace had documented 30 lung cancers as of 1985·. See Exh. 22, memo of

 9/17/85.

         48.     "Lincoln County, Montana, had the highest age adjusted

asbestosis mortality rate in the United States for 1988-1997. (Castellan R.

·unpublished data)," letter by Peipins .et al in Environmental Health

Perspectives 112:a83. See also Whitehouse (2004), p.224. It appears that

this statement applies to 1998-2007 as well..

        ATSDR (2002), "Mortality in Libby, Montana 1979-1998:' is a death

certificates study. Some results from ATSDR (2002) were published in

Horton et al (2006), "A Review of the Federal Government's Health Activities

in Response to Asbestos-Contaminated Ore found in Libby, Montana."

ATSDR (2002); p. 1, states the following conclusions:

        For the 20 year period reviewed in this report (1979-1998),
        mortality in Libby resulting from asbestosis was 40 to 80 times
      . higher than expected. Mortality from lung cancer was also
        elevated, with a 20 to 30 percent excess over this time period.


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 Table 10 shows 12 deaths in category 501 "asbestosis," resulting in

 standardized mortality ratio 65x higher than that of the U.S. reference

 population.

         ATSDR (2002) is a very conservative study, since it apparently used

 only the primary cause of death, not underlying or contributing causes, and

 only counted those who were Libby residents at death. Libby's end stage

 patients often move to larger towns with major medical centers, and die

 there. ATSDR (2002) may have understated the incidence of asbestosis

 deaths in the Libby area. It is not dear how the U.S. reference population

 incidence of asbestosis was calculated, and whether only the primary cause

of death was used for the U.S. reference population.

         We will apply the ATSDR(2002) approach of using only the death

certificates' primary cause of death, to the data in the CARD mortality study.

We also include only those who died as residents of the "Libby area,"

defined as·"CentraILincoln County," per ATSDR (2002).- Fo,theten years

1998-2007, the result is 10 for category 501 "asbestosis." Exh.7. We double

the ten year total for comparison of the ten year rate to the ATSDR (2002) 20

year U.S. baseline rate. This assumes that the baseline U.S. death rate for

asbestosis has. not significantly changed from that used in ATSDR (2002).

(1998-2007: 10 asbestosis deaths x 2 = 20. 65 x 20/12 = 104). It appears

that the death rate for 1998-2007 is 104x the U.S. rate. The Libby area has

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 the highest asbeslOsis monality in the United States.

         49.      There is a latency period bel\iveen exposure and the first

 appearance of asbestos disease on chest x-ray or CT. During the latency

 period, microscopic asbestos fibers are working at a microscopic level, until

 they become detectible on chest x-ray or CT. ATS (2004), p.695, suggests a

·minimum latency period of 15 years. Asbestos pleural disease from

 exposure to Libby asbestos often appears radiographically in less than what

 would be considered a minimum latency period of 10-15 years. We find no

 report of shon latency in disease from predominately chrysotile exposures.

         Data ·on Libby asbestos disease indicates that changes of asbestos

disease can occur in as little as 3-5 years (clearly defined plaques!. whereas

chrysotile latency periods are generally over 10 years. With Libby asbestos,

the range generally appears to be about 5-40 years, with an average latency

period of about 15-30 years from first exposure to diagnosis. Miles et al

(2008), p. 3, report that "DPT can develop within a year from exposure to·

asbestos." We have not seen a latency that short in cases of Libby

exposure.

        The results of W.R. Grace's annual chest x-ray ·program for workers

from 1959 to 1980 appear to confirm that the Libby asbestos has a very high

toxicity. Grace's in-house studies in 1969, 1975 and 1976 on annual x-rays



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